           Case 1:17-cv-03044-SHS Document 25 Filed 09/01/17 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SANWAR AHMED and ANA BUESTAN,
Individually and On Behalf of All Others                     Case Number: 17 CV 3044 (SHS)
Similarly Situated,

                       Plaintiffs,                           CLASS ACTION

                v.

CITY OF NEW YORK, and individually and in
their official capacity as New York City
Department of Health and Mental Hygiene
Inspectors JOSEPH PERSAUD and UKO UTIN
and JOHN DOES 1-5,

                       Defendants.


         PLAINTIFFS SANWAR AHMED AND ANA BUESTAN’S NOTICE OF MOTION
                   TO STRIKE RULE 68 OFFER OF JUDGMENT

         Pursuant to Fed. R. Civ. P. 7(b), Plaintiffs Sanwar Ahmed and Ana Buestan, by counsel,

for the reasons more fully set forth in the accompanying Memorandum of Law, hereby move this

Court for an Order striking the Rule 68 Offer of Judgment served upon them in this case and

declaring the Rule 68 Offer of Judgment to have no effect.

Dated:      New York, New York
            September 1, 2017
                                                             Respectfully submitted,

                                                             /s/ Daniel L. Day
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Case 1:17-cv-03044-SHS Document 25 Filed 09/01/17 Page 2 of 3




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                                       Counsel for Plaintiffs




                              2
         Case 1:17-cv-03044-SHS Document 25 Filed 09/01/17 Page 3 of 3




                               CERTIFICATE OF SERVICE


       I hereby certify that on September 1, 2017, the foregoing Notice of Motion to Strike Rule

68 Offer of Judgment was filed with the Clerk of the Court using the CM/ECF system and served

upon all counsel of record through the CM/ECF system.

Dated: New York, New York
       September 1, 2017

                                                           /s/ Daniel L. Day
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